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      16                          UNITED STATES DISTRICT COURT
      17                     SOUTHERN DISTRICT OF CALIFORNIA
      18
           In re: SONY GAMING NETWORKS             ) MDL No.: 3:11-md-02258-AJB-MDD
      19 AND CUSTOMER DATA SECURITY )
           BREACH LITIGATION,                   )     CLASS ACTION
      20                                        )
                                                )     MEMORANDUM OF POINTS AND
      21 This Document Pertains To: All Actions )     AUTHORITIES IN SUPPORT OF
                                                )     PLAINTIFFS’ MOTION FOR
      22                                        )     FINAL APPROVAL OF CLASS
                                                )     ACTION SETTLEMENT AND
      23                                        )     AWARD OF ATTORNEYS’ FEES,
                                                      COSTS, AND EXPENSES
      24
                                                      Judge: Hon. Anthony J. Battaglia
      25                                              Courtroom: 3B
                                                      Date:   May 1, 2015
      26                                              Time:   2:00 p.m. PT
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       1             Representative Plaintiffs Scott Lieberman, Kyle Johnson, Arthur Howe,
       2 Adam Schucher, Rebecca Mitchell, Christopher Wilson, James Wright, Robert

       3 Bova, Christian Kalled, Christopher Munsterman, and                               Timothy Whyland
       4 (collectively, “Plaintiffs”), individually and on behalf of the Settlement Class (as
                                                                                1
       5 defined in the Settlement Agreement and stated below), by and through Co-Lead

       6 Settlement Class Counsel, respectfully submit this memorandum of points and

       7 authorities in support of Plaintiffs’ Motion for Final Approval of Class Action

       8 Settlement and Award of Attorneys’ Fees, Costs, and Expenses.

       9                                          INTRODUCTION
      10             The Settlement resolves this 65-case multidistrict litigation and provides
      11 valuable relief to the millions of PSN Accountholders, SOE Accountholders, and

      12 Qriocity Accountholders affected by the attacks on the Sony Entities’ computer

      13 network in April 2011. Under the Settlement, depending on whether a Settlement

      14 Class Member qualifies as a PSN Accountholder, SOE Accountholder, or Qriocity

      15 Accountholder, Settlement Class Members are eligible to receive, among other
                                                                                    2
      16 benefits, free PS3 and PSP games, free PS3 themes,                              free subscriptions to
      17 PlayStation Plus, a $9.99 cash payment, free SOE Station Cash, and the payment

      18 of documented, unreimbursed Identity-Theft-Related-Charges shown to have more
      19 likely than not resulted from the Intrusions. On July 10, 2014, after briefing, a

      20 hearing, and due consideration, the Court granted preliminary approval of the

      21 Settlement Agreement. See Order Granting Preliminary Approval of Class Action

      22 Settlement (“Preliminary Approval Order”) [D.E. #193].

      23

      24

      25   1
               The definitions contained in the Settlement are incorporated herein by reference.
      26   2
               PS3 themes customize the background, font, and icons on the PS3 user interface.
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       1          The Court-approved Notice Program has been extremely effective. The
       2 program was designed and implemented by one of the largest and most respected

       3 class action notice providers in the country. Under the program, notice was

       4 delivered directly to Settlement Class Members via 24,895,248 emails and 13,151

       5 postcards. Notice appeared in three nationally circulated consumer magazines

       6 (Maxim, Sports Illustrated, and Game Informer) and in targeted local newspapers

       7 published in U.S. territories and possessions. Notice was also provided on the

       8 Internet, including on social networking sites, through an extensive and targeted

       9 Internet advertising campaign, and via a press release was issued that reached

      10 approximately 5,000 media outlets and 5,400 websites. A website dedicated to the

      11 Settlement was established, as well as a toll-free hotline that Settlement Class

      12 Members could use to call about the Settlement. The Notice Program, as

      13 implemented, is estimated to have reached 83.4% of potential Settlement Class

      14 Members an average of 3 times each.

      15          Settlement Class Members’ reaction to the Settlement has been
      16 overwhelmingly positive. To date, of the estimated tens of millions of Settlement
                                                                             3                          4
      17 Class Members, only 40 opt-outs and one “objection” have been received. The

      18 Settlement readily exceeds the required standard of fair, reasonable, and adequate.
      19          Representative Plaintiffs’ request for attorneys’ fees, costs, and expenses is
                                                                      5
      20 reasonable and in accord with applicable law.                    The requested $2,750,000 for
      21

      22   3
           The sole objection was accompanied by and part of an opt-out request. Persons who opt-out of
      23 the Settlement have no right to object to the Settlement.
           4
      24   Opt-outs and objections to the settlement must be postmarked no later than April 10, 2015.
         Plaintiffs will file a reply brief addressing all objections to the Settlement no later than April 24,
      25 2015.
           5
      26   Co-Lead Settlement Class Counsel are reporting only common benefit attorney time, costs, and
         expenses expended after November 29, 2011. See Order at 6 (Nov. 29, 2011) [D.E. #60] (“[Only
      27 time spent on matters common to all claimants in MDL 2258 will be considered in determining

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       1 attorneys’ fees, costs, and expenses equates to $77,724 for costs and expenses and
                                                                                            6
       2 $2,672,276 for attorneys’ fees for a negative lodestar multiplier of .80. Given the

       3 time and expense required to litigate this matter to successful resolution, the

       4 complexity of the issues involved in this MDL, and the excellent benefits provided

       5 for under the Settlement, the requested amounts are reasonable and appropriate.

       6          Respectfully, the Court should grant final approval of the Settlement and
       7 award the attorneys’ fees, costs, and expenses as requested herein.

       8                                       BACKGROUND
       9   I.   Nature of the Litigation
      10          On April 26, 2011, Sony Network Entertainment International LLC (“SNE”)
      11 and Sony Computer Entertainment America LLC (“SCEA”) announced that an

      12 unauthorized person or persons had perpetrated an attack on the computer network

      13 systems used to provide PlayStation Network (“PSN”) services, and that certain

      14 PSN and Qriocity accountholder information appeared to have been accessed as a

      15 result of the unauthorized intrusion (“the PSN Intrusion”). On May 2, 2011, Sony

      16 Online Entertainment LLC (“SOE”) announced that an unauthorized person or

      17 persons had perpetrated an attack on the SOE network, and that certain SOE

      18 accountholder information appeared to have been accessed as a result of the
      19 unauthorized intrusion (“the SOE Intrusion”) (together with the PSN Intrusion, the

      20 “Intrusions”). Services on both the PSN and SOE networks were suspended and

      21 unavailable to accountholders for a period of approximately two to three weeks.

      22

      23 fees. No time spent on developing or processing any case for an individual client (claimant) will
         be considered or should be considered.”).
      24 6
           This figure was calculated as follows: (1) total costs and expenses incurred by Co-Lead
      25 Settlement Class Counsel and their firms were subtracted from the requested award ($2,750,000
         - $77,724); and (2) the resulting figure ($2,672,276) was divided by the collective lodestar
      26 reported by Co-Lead Settlement Class Counsel and their firms ($3,320,002). The complete
         formula is as follows: ($2,750,000 - $77,724) / $3,320,002 = .80.
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       1 Operations were restored on the networks by on or about May 15, 2011. A

       2 “Welcome Back” package of various benefits (including the opportunity to obtain

       3 identity theft insurance) thereafter was made available to accountholders of both

       4 networks.

       5   II. Procedural History
       6         Following announcement of the Intrusions, 65 class action complaints were
       7 filed asserting claims against the Sony Entities in courts throughout the country.

       8 On August 8, 2011, the Judicial Panel on Multidistrict Litigation transferred all

       9 related actions to the Court for coordinated or consolidated pretrial proceedings.

      10 On November 29, 2011, after reviewing applications for leadership positions, the

      11 Court appointed Co-Lead Settlement Class Counsel as the Plaintiffs’ Steering

      12 Committee. [D.E. #60].

      13         On January 31, 2012, a Consolidated Class Action Complaint (“CAC”) was
      14 filed. [D.E. #78]. The Sony Entities responded with a motion to dismiss the CAC.

      15 [D.E. #94]. After briefing and a hearing on the Sony Entities’ motion, the Court

      16 entered an Order dismissing all counts of the CAC, but granting Plaintiffs’ leave to

      17 amend certain counts. [D.E. #120].

      18         On December 10, 2012, Plaintiffs filed their First Amended Consolidated
      19 Class Action Complaint (“FAC”), asserting 51 counts against the Sony Entities.

      20 [D.E. #128]. The Sony Entities again moved to dismiss. [D.E. #135]. On January

      21 21, 2014, after briefing and a hearing on the matter, the Court entered an Order

      22 granting in part and denying in part Defendants’ motion to dismiss the FAC. [D.E.

      23 #167]. The Court denied the Sony Entities’ motion to dismiss with respect to the

      24 following causes of action: (1) California Unfair Competition Law (“UCL”),

      25 California False Advertising Law (“FAL”), and California Consumers Legal

      26 Remedies Act claims “based on misrepresentations and omissions regarding
      27 reasonable network security and industry-standard encryption” and Plaintiffs’

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       1 ability to seek restitution under the UCL and FAL; (2) Florida Deceptive and

       2 Unfair Trade Practices Act and Michigan Consumer Protection Act claims

       3 requesting declaratory and injunctive relief; (3) Missouri Merchandising Practices

       4 Act claim seeking damages and equitable relief; (4) New Hampshire Consumer

       5 Protection Act claim seeking individual damages and injunctive relief; (5)

       6 California Database Breach Act claims requesting injunctive relief; and (6) partial

       7 performance/breach of the covenant of good faith and fair dealing claims. Order at

       8 97 [D.E. #167].

       9            The Settling Parties engaged in several rounds of settlement discussions
      10 prior to reaching the Settlement. These discussions began over three years ago and

      11 have included a number of face-to-face meetings and telephone conference calls.

      12 During the fall of 2012, the Settling Parties engaged in mediation and subsequently

      13 continued settlement negotiations. After the Court’s ruling on the Sony Entities’

      14 motion to dismiss the FAC, the Settling Parties engaged in renewed settlement

      15 discussions. The Settlement was reached as a result of such discussions.

      16   III. Summary of the Settlement
      17               A. The Settlement Class
      18            The Court’s Preliminary Approval Order certifies the following Settlement
      19 Class:

      20            All Persons residing in the United States who had a PlayStation
                    Network account or sub-account, a Qriocity account, or a Sony Online
      21            Entertainment account at any time prior to May 15, 2011.
                                                                            7
      22 Preliminary Approval Order at 2; see also SA ¶ 1.23. “United States” as used in

      23 the Settlement Agreement includes the District of Columbia and territories of the

      24 United States. SA ¶ 1.29. Excluded from the Settlement Class are the Sony Entities

      25

      26   7
               References to particular paragraphs of the Settlement Agreement are prefixed by “SA ¶”.
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       1 and their officers and directors, and Persons who timely and validly request

       2 exclusion from the Settlement Class. SA ¶ 1.23.

       3              B. Settlement Benefits
       4            The Settlement was structured to provide Settlement Class Members with
       5 valuable relief tailored to the facts of this litigation and to allow Settlement Class

       6 Members to submit claims online through the Settlement website or through U.S.

       7 Mail, at their discretion. The deadline for submitting claims has not yet elapsed and

       8 is defined as sixty (60) days after the “Effective Date,” which is in turn defined by

       9 reference to the date final approval is granted, judgment is entered, and completion

      10 of appellate processes, if any. SA ¶ 1.6, 1.7, and 8.7(a). The Settlement includes
                                                 8
      11 the following benefit provisions:

      12                     1. PSN Accountholder Benefits
      13            PSN User Benefits for “Welcome Back” Non-Participants. PSN Claimants
      14 who did not participate in the “Welcome Back” package offered to PSN

      15 Accountholders had the opportunity to select two of the following PSN Benefit

      16 Options (i.e., either two separate PSN Benefit Options or two instances of one PSN

      17 Benefit Option): (1) one of the following PlayStation 3 (“PS3”) or PlayStation

      18 Portable        (“PSP”) games (the “Game Benefit”): Dead NationTM (PS3),
                          TM
      19 inFAMOUS              , LittleBigPlanetTM, Super StardustTM HD (PS3), rainTM (PS3),
                        TM
      20 Puppeteer           (PS3), InvizimalsTM: Lost Kingdom (PS3), God of War® HD (PS3),
                               TM
      21 LittleBigPlanet            (PSP), ModNationTM Racers (PSP), Killzone® Liberation (PSP),
      22 WipEout® Pure (PSP), and Syphon Filter®: Dark Mirror (PSP); (2) three

      23 PlayStation 3 themes selected from the following list (the “Theme Benefit”):
                                                                                              TM
      24 WipEout® HD Dynamic Theme, UNCHARTED 3: Drake’s Deception                                 Dynamic
      25

      26   8
               See SA ¶ 8.1 (as amended by Amendment to the Settlement dated June 9, 2014).
      27

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                                       TM
       1 Theme, TOKYO JUNGLE                Dynamic Theme, The Last Of UsTM Dynamic Theme,
                                                                                                    TM
       2 Ratchet & Clank® Dynamic Theme, and UNCHARTED 2: Among Thieves

       3 Dynamic Theme; or (3) a three month subscription to the PlayStation Plus service
                                                                                   9
       4 free of charge (“the PlayStation Plus New Subscription Benefit”). SA ¶¶ 1.8, 1.17,

       5 1.27,        2.1(c)(2),      2.1(c)(3);      Detailed        Notice,       available       at:
       6 https://psnsoesettlement.com/english/Portals/0/Documents/141210-2444-LF-Final-

       7 approvedbyclient.pdf (last visited Mar. 31, 2015).

       8         Claims by PSN “Welcome Back” Non-Participants are to be honored on a
       9 first-come, first-served basis subject to an aggregate cap of $6,000,000. SA ¶

      10 2.1(c)(2). Each Game Benefit will be credited at $9.00 per game with the exception

      11 that if, at the time of distribution, the PSN’s retail price for a game listed on the

      12 Claim Form is less than $9.00, the corresponding credit relating to such game will

      13 be proportionally reduced. SA ¶ 1.8. Each Theme Benefit will also be credited at

      14 $9.00 with the exception that if, at the time of distribution, the PSN’s retail price

      15 for a theme listed on the Claim Form is less than $3.00, the corresponding credit

      16 relating to such theme will be proportionally reduced. SA ¶ 1.27. The PlayStation

      17 Plus New Subscription Benefit will be credited at $9.00 per PlayStation Plus New

      18 Subscription Benefit. SA ¶ 1.17. If the aggregate $6,000,000 cap is reached, PSN
      19 Claimants submitting valid claims after the cap is reached will receive a free one-

      20 month subscription to the PlayStation Plus service, which currently costs $9.99 per

      21 month. SA ¶¶ 1.16, 2.1(c)(5).

      22         PSN User Benefits for “Welcome Back” Participants. PSN Claimants who
      23 participated in the “Welcome Back” package are eligible to receive one Game

      24

      25   9
           The PlayStation Plus New Subscription Benefit was available only to Settlement Class
      26 Members who at the time of submitting their claim had not previously subscribed to PlayStation
         Plus. SA ¶ 1.17.
      27

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       1 Benefit, Theme Benefit, or PlayStation Plus New Subscription Benefit. SA ¶¶ 1.8,

       2 1.17, 1.27, 2.1(c)(1), 2.1(c)(3). Claims by PSN “Welcome Back” participants will

       3 be honored on a first-come, first-served basis subject to an aggregate cap of

       4 $4,000,000. SA ¶ 2.1(c)(2). In the event the aggregate $4,000,000 cap is reached,

       5 PSN Claimants submitting valid claims after such cap is reached will receive a free

       6 one-month subscription ($9.99 value) to the PlayStation Plus service. SA ¶¶ 1.16,

       7 2.1(c)(5).

       8         Unused PSN Wallet Credits. PSN Claimants with a PSN Account that was
       9 logged onto at least once during the period of time from January 1, 2011 to May

      10 14, 2011, that was not accessed between May 15, 2011 and April 18, 2014 (the

      11 date of the Settlement) on account of the Intrusions, are eligible to receive payment

      12 in cash equal to any Unused PSN Wallet Credit in their PSN Account(s) for which

      13 the Unused PSN Wallet Credit in the account is equal to or exceeds $2.00. SA ¶

      14 2.1(a).

      15         Unreimbursed Third-Party Services. PSN Claimants who used their PSN
      16 account to access third-party service providers Netflix or Hulu Plus at any time

      17 from January 1, 2011 to and including May 14, 2011, and who provide

      18 documentation that they paid for such service during the period of time when the
      19 PSN was offline from April 20, 2011 through and including May 14, 2011, and

      20 were unable to and did not access such services during this period of time, are

      21 eligible to receive either: (1) a Theme Benefit (claimant has a choice of three

      22 PlayStation themes from a selection of six themes); or (2) a PlayStation Plus New

      23 Subscription Benefit (a subscription to the PlayStation Plus service for 3 months

      24 for claimants who have not previously subscribed to PlayStation Plus). SA ¶¶ 1.27,

      25 1.17, 2.1(b).

      26         Per Accountholder Benefit Availability. PSN benefits are available to
      27 eligible PSN Claimants for valid claims on a per Settlement Class Member basis,

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       1 regardless of the number of PSN accounts a PSN Claimant has or had. SA

       2 ¶ 2.4(e)(i). PSN Welcome Back non-participants and participant benefits together

       3 are limited to three per household. SA ¶ 2.1(c)(4).

       4                    2. Qriocity Accountholder Benefits
       5          The Settlement provided that each Qriocity Accountholder filing a valid
       6 claim would receive one free month of Music Unlimited service (the music portion

       7 of the Qriocity service). SA ¶ 2.2. The Sony Entities have advised that the Music

       8 Unlimited service was discontinued in the ordinary course of business on March

       9 29, 2015. Because the Music Unlimited service is no longer available, the Settling

      10 Parties agreed that Settlement Class Members submitting valid claims for the

      11 Qriocity User Benefit shall receive a $9.99 cash payment, which is the retail value

      12 of the previously offered Music Unlimited service. A copy of the letter agreement

      13 between the Settling Parties explaining and clarifying that benefit is attached

      14 hereto as Exhibit A.

      15                    3. SOE Accountholder Benefits
      16          SOE User Benefit. SOE Claimants are eligible to receive $4.50 worth of
      17 “Station Cash” (i.e., 450 units of Station Cash) to be credited to the SOE

      18 Claimant’s Account. SA ¶ 2.3(b). Station Cash is a virtual currency that players
      19 can use to purchase game items through the in-game marketplace in almost all
                       10
      20 SOE titles.        If valid claims for SOE User Benefits exceed $4,000,000 the amount
      21 of each SOE User Benefit under this subparagraph shall be proportionately

      22 reduced. SA ¶ 2.3(b). This benefit was available to eligible SOE Claimants for

      23

      24   10
            On February 2, 2015, Sony publicly announced the sale of SOE to an entity affiliated with
      25 principals of a private equity firm, Columbus Nova. SOE continues to exist as the same
         corporate entity, subject only to this change in ownership and an accompanying change in name
      26 to Daybreak Game Company LLC (“Daybreak”). SOE (now Daybreak) remains a party to the
         Settlement and is subject to its terms, including all requirements that it will continue to honor the
      27 obligations under the Settlement.

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       1 valid claims on a per Settlement Class Member basis, regardless of the number of

       2 SOE accounts an SOE Claimant has or had. SA ¶ 2.4(e)(iii).

       3          Unused Wallet Credit Payments. SOE Claimants with an SOE Account that
       4 was logged onto at least once during the period of time from January 1, 2011 to

       5 May 14, 2011, that was not accessed between May 15, 2011 and April 18, 2014

       6 (the date of the Settlement) on account of the SOE Intrusion, are eligible to receive

       7 payment in cash equal to any Unused SOE Wallet Credit in their SOE Account(s)

       8 for which the Unused SOE Wallet Credit in the account is equal to or exceeds

       9 $2.00. SA ¶¶ 2.1(a), 2.3.

      10                 4. Reimbursement of Identity Theft Losses
      11          The Sony Entities agreed to reimburse Settlement Class Members for
                                                                                                11
      12 claimed, documented, and unreimbursed Identity-Theft-Related-Charges,                       not to
      13 exceed $2,500 per claim, which are proven by the Settlement Class Member more

      14 likely than not to have directly and proximately resulted from the PSN Intrusion or

      15 the SOE Intrusion and not from any other source. SA ¶ 2.5. Valid claims under this

      16 provision are subject to an aggregate cap of $1,000,000. SA ¶ 2.5(d).

      17                 5. The Costs of Notice and Claims Administration
      18          Under the Settlement, the Sony Entities were obligated to pay all costs of
      19 Notice, up to a cap of $1,250,000, and all costs of claims administration. SA ¶¶

      20 3.2, 8.4. The actual costs of Notice, as confirmed by the Notice Specialist, Kinsella

      21 Media, LLC, amounted to $1,249,622.

      22

      23   11
            “Identity-Theft-Related-Charges” means out-of-pocket payments (not otherwise reimbursed)
      24 for expenses that are incurred as a direct result of someone assuming the Settlement Class
         Member’s identity and taking out a line of credit, establishing and using a new financial account,
      25 or otherwise obtaining monies and other things of value fraudulently in the name of the
         Settlement Class Member (other than unauthorized charges on a payment card account
      26 associated with a Settlement Class Member’s PSN Account, Qriocity Account or SOE Account).
         SA ¶ 2.5(a).
      27

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                        6. Attorneys’ Fees, Costs, and Expenses
       1
                 Pursuant to the Settlement, the Sony Entities agreed to pay Co-Lead
       2
           Settlement Class Counsel, subject to Court approval, up to the amount of
       3
           $2,750,000 for attorneys’ fees, costs, and expenses. SA ¶ 7.2. The Settling Parties
       4
           did not discuss the amount of attorneys’ fees, costs, and expenses until after the
       5
           substantive elements of the Settlement had been agreed upon. SA ¶ 7.1. The
       6
           amounts of any award of attorneys’ fees, costs, and expenses were intended to be
       7
           considered by the Court separately from the Court’s consideration of the fairness,
       8
           reasonableness, and adequacy of the Settlement. SA ¶ 7.5.
       9
                   C. Confirmatory Discovery
      10
                 Pursuant to the Settlement, Co-Lead Settlement Class Counsel were entitled
      11
           to reasonable confirmatory discovery from the Sony Entities to confirm their
      12
           assessment of the Settlement as fair, reasonable, and adequate. SA ¶ 10.4.
      13
                 At Co-Lead Settlement Class Counsel’s request, the Sony Entities provided
      14
           Co-Lead Settlement Class Counsel with eight boxes of documents containing
      15
           detailed, non-public information regarding the Intrusions and made Jason Harkins,
      16
           the Chief Security Officer at Sony Network Entertainment International, LLC, and
      17
           Rich Lawrence, the Chief Technology Officer at Sony Online Entertainment,
      18
           available for interview. These individuals provided detailed information about
      19
           SNE and SOE, respectively, in regards to: (1) overview of the PSN and SOE
      20
           systems, including the declining balance wallet feature; (2) the timeline of the
      21
           Intrusions and public announcements; (3) the Welcome Back offer; (4) details of
      22
           the Sony Entities’ investigation of the Intrusions; (5) each company’s security
      23
           profile, system architecture, security teams, PCI compliance, and diligence before
      24
           and after the Intrusions; (6) the scope of the Intrusions, including what information
      25
           was and was not placed at risk of compromise; (7) the “DDos attacks” experienced
      26
           before and after the Intrusions; (8) the sophistication of the hackers; and (9) the
      27

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       1 number of Settlement Class Members and the associated contact information

       2 possessed by the Sony Entities.

       3         At the conclusion of the confirmatory discovery process, Co-Lead
       4 Settlement Class Counsel determined that the settlement was fair, reasonable, and

       5 adequate.

       6           D. The Court-Approved Notice Program Was Substantial and
                      Effective
       7
                 Where a Class has been certified under Fed. R. Civ. P. 23(b)(3), such as the
       8
           Settlement Class, “the [C]ourt must direct to class members the best notice that is
       9
           practicable under the circumstances.” Fed. R. Civ. P. 23(c)(2). Notice serves to
      10
           “afford members of the class due process which, in the context of the Rule 23(b)(3)
      11
           class action, guarantees them the opportunity to be excluded from the class action
      12
           and not be bound by any subsequent judgment.” Peters v. Nat’l R.R. Passenger
      13
           Corp., 966 F.2d 1483, 1486 (D.C. Cir. 1992) (citing Eisen v. Carlisle & Jacquelin,
      14
           417 U.S. 156, 173–74 (1974)). “[D]ue process requires reasonable effort to inform
      15
           affected class members through individual notice, not receipt of individual notice.”
      16
           Rannis v. Recchia, 380 F. App’x 646, 650 (9th Cir. 2010).
      17
                 Here, the Court-approved Notice Plan was extremely effective. The Notice
      18
           Plan was developed and implemented by Kinsella Media, LLC, one of the largest
      19
           and most respected class action notice providers in the country. As summarized
      20
           herein and explained in detail in the Declaration of Shannon R. Wheatman, Ph.D
      21
           (“Wheatman Decl.”), Notice was provided in accordance with the Court-approved
      22
           Notice Plan at a cost of $1,249,622. Wheatman Decl. ¶ 4. Pursuant to the Notice
      23
           Plan, direct Notice was delivered via email and postcard, publication notice
      24
           appeared in leading consumer magazines, notice was published in targeted local
      25
           newspapers in U.S. territories and protectorates, notice was provided on Internet
      26
           websites, a press release was issued, and a settlement website and toll-free number
      27

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       1 were established. Id. ¶¶ 8–24. The Notice Program is estimated to have reached

       2 83.4% of potential Settlement Class Members an average of 3 times each. Id. ¶¶

       3 24, 32–33. Such Notice readily satisfies the “best practicable” standard. See

       4 Federal Judicial Center, Judges’ Class Action Notice and Claims Process Checklist

       5 and Plain Language Guide, at 3 (2010) (recognizing 70% reach to be reasonable).

       6         Summary Notice of the Settlement was emailed to PSN Accountholders and
       7 Qriocity Accountholders who had an email address associated with their accounts

       8 and to SOE Accountholders who provided email information associated with their

       9 accounts. Id. ¶¶ 9–10. Starting on January 22, 2015, a total of 45,497,612 Email

      10 Notices were sent to Settlement Class Members. Id. ¶ 9. As of March 30, 2015, a

      11 total of 24,895,248 Email Notices had been delivered. Id. Additionally, 14,170

      12 Postcard Notices (13,151 of which were delivered) were sent to SOE

      13 Accountholders who did not have email information associated with their SOE

      14 account, but did provide sufficient information for a postal mailing. Id. ¶¶ 9, 11.

      15         Publication Notice appeared in the following consumer magazines with a
      16 combined circulation of 8,500,000: Maxim, Sports Illustrated, and Game Informer.

      17 Id. ¶ 13. Publication Notice also appeared in one-quarter page advertisements (or

      18 equivalent), translated into Spanish where necessary, in targeted local newspapers
      19 published in U.S. territories and possessions. Id. ¶ 16. Additionally, a press release

      20 was distributed on PR Newswire’s Full National Circuit, reaching approximately

      21 5,000 media outlets and 5,400 websites, resulting in 252 news stories appearing on

      22 news websites, news services websites, and other media outlets. Id. ¶ 26. All print

      23 advertising    of the Settlement included the Settlement website address,
      24 www.psnsoesettlement.com, and a toll-free number for potential Settlement Class

      25 Members to call with questions regarding or to request information relating to the

      26 Settlement. Id. ¶ 18.
      27

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       1         The Notice Plan provided that Notice would also appear in PCGamer
       2 magazine. Id. ¶ 15. Due to an error on its part, PCGamer inadvertently failed to run

       3 the advertisement. Id. To make up for this omission, PCGamer delivered 750,000

       4 impressions of the Notice on its website and the Notice Provider also ran an

       5 additional 1,000,000 targeted impressions on Facebook.com. Id. The online

       6 substitutions were a positive element for the Notice Program. Id.

       7         The Notice Program included a substantial Internet component. Notice of the
       8 Settlement was provided through Internet advertising on, inter alia, Gaming

       9 Networks, Online Networks, and           mobile/table applications and websites,
      10 delivering 435,802,717 impressions. Id. ¶ 19. Targeted Notice of the Settlement

      11 was placed on social media websites, including Facebook.com, Twitter.com, and

      12 Reddit.com. Id. ¶ 21. Notice was also advertised through Google Display Network

      13 on a variety of news sites, blogs, and other niche sites to reach potential Settlement

      14 Class Members. Id. ¶ 22.

      15         On January 21, 2015, a Settlement website was established at
      16 www.psnsoesettlement.com. Id. ¶ 27. Notice was posted on the Settlement website

      17 in English and Spanish. Id. The Settlement website allowed Settlement Class

      18 Members to view information about the Settlement, including copies of the Short
      19 Form Notice, Detailed Notice, Settlement Agreement (and all amendments), and

      20 Preliminary Approval Order, and to view and file claim forms. See id.;

      21 www.psnsoesettlement.com. The Settlement website also contains answers to

      22 commonly asked questions, and includes contact information for the Claims

      23 Administrator. See id. As of March 31, 2015, there have been 782,346 unique

      24 visitors to the Settlement website. Wheatman Decl. ¶ 27.

      25         On January 21, 2015, a toll-free number was established. Wheatman Decl. ¶
      26 28. The number allowed Settlement Class Members to speak with a live operator in
      27 English or Spanish. Id. The number also allowed Settlement Class Members to

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       1 listen to answers to frequently asked questions, and to request that a copy of the

       2 Claim Forms or Detailed Notice be mailed to them. Id. As of March 31, 2015,

       3 there had been 4,599 calls to the toll-free number. Id.

       4         Altogether, it is estimated that the Notice Program reached 83.4% of
       5 potential Settlement Class Members an average of 3 times each. Id. ¶¶ 24, 31–32.

       6 This figure does not include the additional reach generated by the press release and

       7 Settlement website, because the effect of such exposures is not calculable. Id. ¶ 31.

       8 The Notice Program, with its extensive and thorough efforts to reach as many

       9 Settlement Class Members as possible, provided the Settlement Class with the best

      10 notice practicable under the circumstances. Id. ¶¶ 30, 35–38.

      11                                     ARGUMENT
      12   I.   Final Approval of the Settlement is Appropriate
      13         A class action settlement may only be approved after a hearing and a finding
      14 that the settlement is fair, reasonable, and adequate. Fed. R. Civ. P. 23(e). “A

      15 strong judicial policy favors settlement of class actions.” Adoma v. Univ. of Phx.,

      16 Inc., 913 F. Supp. 2d 964, 972 (E.D. Cal. 2012).

      17         When determining whether a settlement is fair, reasonable, and adequate,
      18 courts consider the following factors:
      19         (1) the strength of the plaintiff’s case; (2) the risk, expense,
                 complexity, and likely duration of further litigation; (3) the risk of
      20         maintaining class action status throughout the trial; (4) the amount
                 offered in settlement; (5) the extent of discovery completed, and the
      21         stage of the proceedings; (6) the experience and views of counsel; (7)
                 the presence of a governmental participant; and (8) any opposition by
      22         class members.
      23 Id. at 974–75 (citing Linney v. Cellular Alaska P’ship, 151 F.3d 1234, 1242 (9th

      24 Cir. 1998)). Analysis of these factors here supports that the Settlement satisfies the

      25 required standard of fair, reasonable, and adequate.

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                   A. The Strength of Plaintiffs’ Case and the Risk, Complexity, and
       1              Likely Duration of Future Litigation
       2         Balancing the risks of continued litigation against the immediacy and
       3 certainty of the significant recovery provided for by the Settlement supports that

       4 the Settlement should be approved. When reviewing a class action settlement

       5 agreement:

       6         The court shall consider the vagaries of the litigation and compare the
                 significance of immediate recovery by way of compromise to the
       7         mere possibility of relief in the future, after protracted and expensive
                 litigation. In this respect, it has been held proper to take the bird in
       8         hand instead of a prospective flock in the bush.
       9 Grant v. Capital Mgmt. Servs., L.P., No. 10-CV-WQH BGS, 2014 WL 888665, at

      10 *3 (S.D. Cal. Mar. 5, 2014) (citations and quotations omitted).

      11         Plaintiffs and Co-Lead Settlement Class Counsel believe the claims asserted
      12 in the litigation have merit. They would not have fought so hard to advance their

      13 claims if it were otherwise. But they also recognize the substantial risks involved

      14 in continuing this litigation. The Sony Entities have aggressively maintained their

      15 position regarding standing, liability, and damages. They deny all three. Co-Lead

      16 Settlement Class Counsel are mindful of the inherent problems of proof and

      17 possible defenses to the claims asserted in the litigation, and recognize the

      18 difficulties in establishing liability on a class-wide basis through summary
      19 judgment and at trial.

      20         Prosecuting this litigation through trial and appeal would be lengthy,
      21 complex, and impose significant costs on all parties. See, e.g., In re Austrian &

      22 German Bank Holocaust Litig., 80 F. Supp. 2d 164, 174 (S.D.N.Y. 2000)

      23 (recognizing that “[m]ost class actions are inherently complex and settlement

      24 avoids the costs, delays, and multitude of other problems associated with them”).

      25 Continued proceedings necessary to litigate this matter to final judgment would

      26 likely include substantial motion practice, extensive fact and expert discovery,
      27 class certification proceedings, dispositive motion practice and, of course, a trial

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       1 and appeal. Given the complex nature of the security breach at issue, a battle of the

       2 experts at trial is almost a certainty and, as such, continued proceedings would

       3 likely include substantial expert discovery and significant motion practice related

       4 to such. Also, considering the size of the Settlement Class and the amount of

       5 money at stake, any decision on the merits would likely be appealed, causing

       6 further delay, as it would require briefing and likely oral argument.

       7         The Settlement, in contrast, delivers a real and substantial remedy that fairly,
       8 reasonably, and adequately addresses the situation confronting the members of the

       9 Settlement Class without the risk and delay inherent in prosecuting this matter

      10 through trial and appeal. Thus, this factor favors approval of the Settlement. See

      11 Grant, 2014 WL 888665, at *3; Weinberger v. Kendrick, 698 F.2d 61, 73 (2d Cir.

      12 1982) (“There are weighty justifications, such as the reduction of litigation and

      13 related expenses, for the general policy favoring the settlement of litigation.”); In

      14 re Sunrise Sec. Litig., 131 F.R.D. 450, 455 (E.D. Pa. 1990) (approving a class

      15 action settlement because, in part, the settlement “will alleviate . . . the

      16 extraordinary complexity, expense and likely duration of this litigation”).

      17           B. The Amount Offered by the Settlement
      18         The Settlement provides for extraordinary relief. All Settlement Class
      19 Members have the opportunity to submit claims for relief under the Settlement, and

      20 the Settlement includes relief specifically tailored to PSN Accountholders, Qriocity

      21 Accountholders, and SOE Accountholders. The benefits made available under the

      22 Settlement include, inter alia, the option to choose, depending on the claimants’

      23 individual circumstances, free PS3 and PSP games, free PS3 themes, a free

      24 subscription to PlayStation Plus, a cash payment of $9.99, and free SOE Station

      25 Cash. The Settlement also delivers important peace of mind and security for

      26 Settlement Class Members by providing for payment of documented and
      27 unreimbursed Identity-Theft-Related-Charges that are proven more likely than not

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       1 to have resulted from the Intrusions, pursuant to a fair and clear claims process.

       2 Additionally, under the Settlement, the Sony Entities will bear all costs of Notice,

       3 the Costs of Claims Administration, and Plaintiffs’ attorneys’ fees, costs, and

       4 expenses.

       5         The significant benefits offered under the Settlement support final approval.
       6           C. The Extent of Discovery Completed and the Stage of the
                      Proceedings
       7
                 The first cases in this MDL litigation were filed almost four years
       8
           ago. A number of Co-Lead Settlement Class Counsel have significant experience
       9
           in data breach consumer class actions such as this and are well-informed of the
      10
           legal claims at issue and the risks of this case. Since their appointment by the
      11
           Court, Co-Lead Settlement Class Counsel have been actively and
      12
           aggressively advancing this matter. Two amended consolidated class action
      13
           complaints were filed and the Court has ruled on motions to dismiss
      14
           relating to each such complaint after extensive briefing.
      15
                 The FAC, which is the operative complaint in this MDL, contains 515
      16
           paragraphs and asserts 51 counts against the Sony Entities. [D.E. #128]. On
      17
           January 21, 2014, after briefing, a hearing, and careful and due consideration, the
      18
           Court entered a 97-page Order granting in part and denying in part Defendants’
      19
           motion to dismiss the FAC. [D.E. #167]. The Court denied the Sony Entities’
      20
           motion to dismiss with respect to the following causes of action: (1) California
      21
           Unfair Competition Law, California False Advertising Law, and California
      22
           Consumers Legal Remedies Act claims “based on misrepresentations and
      23
           omissions   regarding   reasonable    network    security   and   industry-standard
      24
           encryption” and Plaintiffs’ ability to seek restitution under the UCL and FAL; (2)
      25
           Florida Deceptive and Unfair Trade Practices Act and Michigan Consumer
      26
           Protection Act claims requesting declaratory and injunctive relief; (3) Missouri
      27

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       1 Merchandising Practices Act claim seeking damages and equitable relief; (4) New

       2 Hampshire Consumer Protection Act claim seeking individual damages and

       3 injunctive relief; (5) California Database Breach Act claims requesting injunctive

       4 relief; and (6) partial performance/breach of the covenant of good faith and fair

       5 dealing claims. Order at 97 [D.E. #167].

       6         Co-Lead Settlement Class Counsel and counsel for Defendants engaged in
       7 several rounds of settlement negotiations during the past two years. Throughout the

       8 settlement negotiations, Co-Lead Settlement Class Counsel pursued informal

       9 discovery from Defendants that was appropriately targeted at information relevant

      10 to the settlement. See In re Mego Fin. Corp. Sec. Litig., 213 F.3d 454, 459 (9th Cir.

      11 2000) (“In the context of class action settlements, formal discovery is not a

      12 necessary ticket to the bargaining table where the parties have sufficient

      13 information to make an informed decision about settlement.”) (citations and

      14 quotations omitted); see also Manual for Complex Litigation (Fourth) § 13.12

      15 (2004) (recognizing that the benefits of settlement are diminished if it is postponed

      16 until discovery is completed and approving of targeting early discovery at

      17 information needed for settlement negotiations). Informal discovery, of course, is a

      18 recognized method of minimizing the cost, delay, and burden associated with
      19 formal discovery. See Manual for Complex Litigation (Fourth) § 11.423 (2004).

      20 Indeed, to further such ends, courts are to “encourage counsel to exchange

      21 information, particularly relevant documents, without resort to formal discovery.”

      22 Id. In addition to informal discovery, Co-Lead Settlement Class Counsel have also

      23 collected and reviewed publicly-available information regarding the parties and

      24 claims at issue.

      25         As detailed above in Section III.C and pursuant to the Settlement, Co-Lead
      26 Settlement Class Counsel also conducted confirmatory discovery. SA ¶ 10.4. The
      27 confirmatory discovery process confirmed to Co-Lead Settlement Class Counsel

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       1 that they relied on accurate information when reaching the Settlement and

       2 reaffirmed their conclusion that the Settlement is fair, reasonable, and adequate.

       3         This factor favors final approval of the Settlement.
       4           D. The Views and Experience of Counsel
       5         “Parties represented by competent counsel are better positioned than courts
       6 to produce a settlement that fairly reflects each party’s outcome in litigation.”

       7 Rodriguez v. W. Publ’g Corp., 563 F.3d 948, 697 (9th Cir. 2009). When both

       8 parties are represented by experienced counsel, their mutual desire to adopt a

       9 proposed settlement’s terms “while not conclusive, ‘is entitled to significant

      10 weight.’” Arnold v. Fitflop USA, LLC, No. 11-CV-0973 W KSC, 2014 WL

      11 1670133, at *7 (S.D. Cal. Apr. 28, 2014) (quoting Bros. v. Cambridge Lee Indus.,

      12 Inc., 630 F. Supp. 482, 488 (E.D. Pa. 1985)).

      13         The Settlement is supported by experienced and well-qualified counsel. The
      14 Court appointed Co-Lead Settlement Counsel as the Plaintiffs’ Steering Committee

      15 after a selection process that involved numerous attorneys applying for leadership

      16 positions. See Order at 6 (Nov. 29, 2011) [D.E. #60]. The collective experience of

      17 Co-Lead Settlement Class Counsel leading consumer class actions and other

      18 complex litigation matters, including data security breach class actions, is
                          12
      19 extraordinary.        The Sony Entities are similarly well-represented. Harvey Wolkoff
      20 and Mark Szpak each have significant experience litigating class actions, and

      21 Ropes & Gray LLP is consistently recognized as one of the top law firms in the

      22 country. Co-Lead Settlement Class Counsel and counsel for the Sony Entities

      23 support the Settlement and believe the Settlement to be fair, reasonable, and

      24 adequate.

      25
         12
            See Decl. of Ben Barnow, Exh. C; Decl. of Stuart A. Davidson, Exh. C; Decl. of Timothy
      26 G. Blood, Exh. C; Decl. of David McKay, Exh. C; Decl. of Adam J. Levitt, Exh. C; Decl. of
         Fred T. Isquith, Exh. C; Decl. of Gayle M. Blatt, Exh. C; Decl. of Brian R. Strange, Exh. C.
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       1         The support of experienced counsel favors final approval of the Settlement.
       2           E. The Reaction of Absent Class Members
       3         Settlement Class Members’ reaction to the Settlement has been
       4 overwhelmingly positive. As of April 1, 2015, only one “objection” had been

       5 received, which is almost certainly invalid, because it was accompanied by an opt-

       6 out request from the same person and opt-outs cannot object to the Settlement. To

       7 be timely, all opt-outs and objections to the Settlement must be post-marked no

       8 later than April 10, 2015. Preliminary Approval Order at 7. On or before April 24,

       9 2015, Co-Lead Settlement Class Counsel will file a reply brief addressing any

      10 objections to the Settlement.

      11   II. The Requested Award of Attorneys’ Fees, Costs, and Expenses is
               Reasonable
      12
                 Co-Lead Settlement Class Counsel request that the Court approve payment
      13
           by the Sony Entities of attorneys’ fees, costs, and expenses in the amount of
      14
           $2,750,000. Sony has agreed to pay such amount in addition to providing all other
      15
           benefits under the Settlement, subject to Court approval.
      16
                 Courts presiding over certified class actions “may award reasonable
      17
           attorney’s fees and nontaxable costs that are authorized by law or by the parties’
      18
           agreement.” Fed. R. Civ. P. 23(h). Where no common fund exists, courts employ a
      19
           lodestar analysis to analyze class counsel’s fee request. A lodestar analysis begins
      20
           with multiplying the number of hours reasonably expended on the litigation by
      21
           counsel’s reasonable hourly rates. Chaikin v. Lululemon USA Inc., No. 3:12-CV-
      22
           02481-GPC-MDD, 2014 WL 1245461, at *6 (S.D. Cal. Mar. 15, 2014) (quoting
      23
           Morales v. City of San Rafael, 96 F.3d 359, 363 (9th Cir. 1996)). That figure—the
      24
           lodestar—is the presumptively reasonable fee amount. See Van Gerwen v.
      25
           Guarantee Mut. Life Ins., 214 F.3d 1041, 1045 (9th Cir. 2000).
      26
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       1         Co-Lead Settlement Class Counsel and their firms reasonably incurred
       2 $77,724 in costs and expenses in furtherance of the litigation from November 29,
                            13
       3 2011 to present.        A breakdown of these costs and expenses incurred is included on
                                                                   14
       4 each of the Declarations of counsel attached hereto.           Plaintiffs respectfully request
       5 that they be awarded $77,724 to be reimbursed for these amounts expended. See,

       6 e.g., Shames v. Hertz Corp., No. 07-cv-2174-MMA (WMC), 2012 WL 5392159, at

       7 *20 (S.D. Cal. Nov. 5, 2012) (class counsel are entitled to reimbursement of costs

       8 and expenses reasonably incurred) (citations omitted).

       9         Co-Lead Settlement Class Counsel and their firms spent in excess of 5,580
      10 hours advancing this MDL from November 29, 2011 to present. Multiplying the

      11 total hours by the reasonable hourly rates charged by Co-Lead Settlement Class

      12 Counsel and their firms equates to a lodestar of in excess of $3,320,000.

      13 Subtracting costs and expenses incurred from $2,750,000, equates to a requested

      14 attorneys’ fee award of $2,672,276 for a negative lodestar multiplier of .80.

      15         The requested award is reasonable and appropriate considering the time and
      16 expense required to achieve successful resolution of this MDL matter, the complex

      17 nature and scope of this MDL, and the excellent benefits achieved by the

      18 Settlement.
      19

      20

      21

      22   13
            The Court’s November 29, 2011 Order directs that “[O]nly time spent on matters common to
      23 all claimants in MDL 2258 will be considered in determining fees. No time spent on developing
         or processing any case for an individual client (claimant) will be considered or should be
      24 considered.” Order at 6 [D.E. #60]. In compliance therewith, Co-Lead Settlement Class Counsel
         are only reporting time, costs, and expenses incurred on November 29, 2011 and thereafter.
      25 14
            See Decl. of Ben Barnow, Exh. B; Decl. of Stuart A. Davidson, Exh. B; Decl. of Timothy
      26 G. Blood, Exh. B; Decl. of David McKay, Exh. B; Decl. of Adam J. Levitt, Exh. B; Decl. of
         Fred T. Isquith, Exh. B; Decl. of Gayle M. Blatt, Exh. B; Decl. of Brian R. Strange, Exh. B.
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                   A. Co-Lead Settlement Class Counsel and Their Firms Report
       1              Reasonably Spending in Excess of 5,580 Hours Advancing the
                      Litigation
       2
                 Attached in support of Plaintiffs’ application for an award of attorneys’
       3
           fees, costs, and expenses are the sworn declarations of Ben Barnow, Stuart A.
       4
           Davidson, Timothy G. Blood, David McKay, Adam J. Levitt, Fred T. Isquith,
       5
           Gayle M. Blatt, and Brian R. Strange (collectively, the “Attorney
       6
           Declarations”). In each of these declarations, the declarant attorney attests to the
       7
           total common benefit time his or her firm spent litigating this matter, the hourly
       8
           rates, and years of experience of the attorneys from their firm. Exhibit D to the
       9
           Barnow Declaration summarizes the total hours and lodestar reported by each
      10
           declarant in furtherance of the litigation. Altogether, Co-Lead Settlement Class
      11
           Counsel and their firm report having spent in excess of 5,580 hours advancing
      12
           the matter. Additional time will also be spent and costs and expenses incurred in
      13
           preparation for the Final Fairness Hearing, attending the Hearing itself, and in
      14
           implementing the Settlement.
      15
                 The Declaration of Ben Barnow details, on behalf of the Co-Lead
      16
           Settlement Class Counsel, the significant time and labor required to bring this
      17
           matter to successful resolution. The supporting declarations support that such time
      18
           and effort was reasonably expended considering the number of cases, Plaintiff
      19
           Steering Committee Counsel, and issues involved in this highly-publicized
      20
           complex multidistrict litigation proceeding, and the number, novelty, and
      21
           complexity of the data security breach and other consumer claims asserted in the
      22
           litigation. Among other things, Co-Lead Settlement Class Counsel researched the
      23
           unique issues pertaining to this litigation; interviewed clients and potential experts;
      24
           researched and drafted complaints, including the 515 paragraph Amended
      25
           Consolidated Complaint alleging 51 causes of action against the Sony Entities; and
      26
           opposed two motions to dismiss filed by the Sony Entities. Barnow Decl. ¶¶ 27–
      27

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       1 28. The seriousness and completeness of those efforts contributed to a 97-page

       2 Order that is often cited by other courts today. See Order [D.E. #167].

       3         Throughout the litigation, Co-Lead Settlement Class Counsel have worked
       4 to ensure the advancement of this matter in an efficient and effective manner.

       5 Barnow Decl. ¶ 16. Assignments were discussed and agreed upon to protect

       6 against duplication of efforts and to maximize the collective resources of Co-Lead

       7 Settlement Class Counsel and their firms, as well as applicable experience. Id.

       8         The Settlement was reached after several rounds of extremely hard-fought
       9 negotiations occurring over a period of years. Id. ¶¶ 38–40. The negotiations

      10 involved, among other things, a number of in-person meetings and the assistance

      11 of a mediator. Id. In the FAC, Plaintiffs alleged the parties had reached an

      12 agreement in 2012, but the Sony Entities failed to negotiate attorneys’ fees, costs,

      13 and expenses in good faith—a count that survived Defendants’ motion to dismiss.

      14 See FAC ¶¶ 505–15 [D.E. #128]; Order at 97 (Jan. 21, 2014) (denying Sony

      15 Entities’ motion to dismiss Plaintiffs’ partial performance/breach of covenant of

      16 good faith and fair dealing claim). After entry of the Court’s Order on Defendants’

      17 motion to dismiss the FAC, the Settling Parties renewed negotiations, resulting in

      18 the Settlement. Barnow Decl. ¶ 40.
      19         Co-Lead Settlement Class Counsel’s duties did not end when they signed the
      20 Settlement Agreement. Id. ¶¶ 42–50. Thereafter, they prepared and filed Plaintiffs’

      21 Motion for Preliminary Approval and related documents with the Court, and

      22 presented the matter to the Court. Id. ¶¶ 41–42. Pursuant to the Settlement and as

      23 detailed further herein at Section III.C., confirmatory discovery was conducted to

      24 confirm the accuracy of representations made during the settlement negotiation

      25 process. Id. ¶¶ 44–45. At the conclusion such process, Co-Lead Settlement Class

      26 Counsel reaffirmed their belief that the Settlement readily satisfies the standard of
      27 fair, reasonable, and adequate. Id. ¶ 45.

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       1         Co-Lead Settlement Class Counsel also worked with the Notice Provider,
       2 the Claims Administrator, and counsel for the Sony Entities to effectuate the

       3 Settlement. Id. ¶ 43. For example, Co-Lead Settlement Class Counsel and counsel

       4 for the Sony Entities responded to questions from certain state attorney generals’

       5 offices regarding the Settlement and resolved those questions. Id. They and others

       6 from their firms communicated with potential Settlement Class Members seeking

       7 information regarding the Settlement. Id. Additional time will be spent drafting and

       8 filing Plaintiffs’ reply brief in support of final approval, responding to any

       9 objections to the Settlement, traveling to and appearing at the Final Fairness

      10 Hearing, and resolving any appeals that may be filed. Id. ¶¶ 47–50.

      11         Altogether, the hours expended by Co-Lead Settlement Class Counsel and
      12 their firms were, as supported by their declarations, reasonable and appropriate.

      13 This excellent and hard-fought Settlement finely tailored to the facts of this 65-

      14 case MDL leaves no serious doubt as to the appropriateness of the attorneys’ fee,

      15 cost, and expense award requested.

      16           B. The Hourly Rates of Co-Lead Settlement Class Counsel and Their
                      Firms are Reasonable
      17
                 The hourly rates charged by Co-Lead Settlement Class Counsel and their
      18
           firms are reasonable and appropriate. District courts look to the prevailing market
      19
           rates in the forum in which they sit for similar work done by attorneys of
      20
           comparable skill, experience, and reputation when assessing the reasonableness of
      21
           attorneys’ billing rates. See Camacho v. Bridgeport Fin., Inc., 523 F.3d 973, 979
      22
           (9th Cir. 2008). Affidavits by plaintiff’s counsel concerning prevailing rates in the
      23
           community and rate determinations in other cases are sufficient evidence of the
      24
           prevailing market rates in the community. See Brighton Collectibles, Inc. v. RK
      25
           Tex. Leather Mfg., No. 10-CV-419-GPC (WVG), 2014 WL 5438532, at *4 (S.D.
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       1 Cal. 2014) (citing United Steelworkers of Am. v. Phelps Dodge Corp., 8 F.2d 403,

       2 407 (9th Cir. 1990)).

       3          Each of the Attorney Declarations details the name, total number of hours
       4 expended, customary hourly rate, and years of experience of each attorney from his
                                                                                              15
       5 or her firm who worked on this matter from November 29, 2011 to present.                  The
       6 hourly rates of Co-Lead Settlement Class Counsel and attorneys from their firms

       7 are reasonable, taking into consideration the experience and skill of such attorneys

       8 and market rates for such skill in the Southern District of California. Co-Lead

       9 Settlement Class Counsel are among the most experienced and successful class

      10 action plaintiff’s attorneys in the country—particularly with respect to data breach

      11 and privacy cases—and were each specifically chosen by the Court to lead the

      12 prosecution of this 65-case MDL litigation. See Order [D.E. #60] (appointing Co-

      13 Lead Settlement Class Counsel as the Plaintiffs’ Steering Committee); see also

      14 Decl. of Ben Barnow, Exh. C; Decl. of Stuart A. Davidson, Exh. C; Decl. of

      15 Timothy G. Blood, Exh. C; Decl. of David McKay, Exh. C; Decl. of Adam J.

      16 Levitt, Exh. C; Decl. of Gayle M. Blatt, Exh. C; Decl. of Brian R. Strange, Exh.

      17 C.

      18         The billing rates of Co-Lead Settlement Class Counsel and their firms are
      19 consistent with rates that have been accepted as reasonable in this District and

      20 other district courts in numerous other class actions. See, e.g., Prison Legal News

      21 v. Schwarzenegger, 608 F.3d 446, 455 (9th Cir. 2010) (affirming of attorney’s fees

      22 where partners billed hourly rates of up to $875); Morey v. Louis Vuitton N. Am.,

      23 Inc., No. 11-cv-1517 WQH (BLM), 2014 WL 109194, at *6–7 (S.D. Cal. Jan. 9,

      24

      25   15
           See Decl. of Ben Barnow, Exh. A; Decl. of Stuart A. Davidson, Exh. A; Decl. of Timothy
      26 G. Blood, Exh. A; Decl. of David McKay, Exh. A; Decl. of Adam J. Levitt, Exh. A; Decl. of
         Fred T. Isquith, Exh. A; Decl. of Gayle M. Blatt, Exh. A; Decl. of Brian R. Strange, Exh. A.
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       1 2014) (approving hourly rates of $675, $675, and $650 for three partners admitted

       2 to practice in 2000, $500 for an associate admitted to practice in 2007, and $350

       3 for an associate admitted to practice in 2011); Chaikin v. Lululemon USA Inc., No.

       4 3:12-cv-02481 GPC MDD, 2014 WL 1245461, at *6–7 (S.D. Cal. Mar. 17, 2014)

       5 (approving hourly rates of $675 and $650 for two partners admitted to practice in

       6 2000, $500 for an associate admitted to practice in 2000 and an associate admitted

       7 to practice in 2002, and $350 for an associate admitted to practice in 2011);

       8 Hartless v. Clorox Co., 273 F.R.D. 630, 644 (S.D. Cal. 2011) (approving hourly

       9 rates of Robbins Geller Rudman & Dowd, Blood Hurst & O’Reardon, and other

      10 firms ranging from $675 for experienced partners to $100 for paralegal time);

      11 Stuart v. RadioShack Corp., No. C-07-4499 EMC, 2010 WL 3155645, at *6 (N.D.

      12 Cal. Aug. 9, 2010) (approving $1.5 million fee award where the average hourly

      13 rate was $708).

      14         Robbins Geller Rudman & Dowd and Blood Hurst & O’Reardon, the firms
      15 of Paul Geller and Tim Blood, respectively, have offices located in California. The

      16 rates charged by Messrs. Geller’s and Blood’s firms are consistent with those

      17 charged by other Co-Lead Settlement Class Counsel and their firms. Several

      18 California courts have found the billing rates charges by Messrs. Geller’s and
      19 Blood’s firms to be reasonable in class action cases. See, e.g., Hartless, 273 F.R.D.

      20 at 644 (approving hourly rates of Blood Hurst & O’Reardon, LLP); Shames v.

      21 Hertz Corp., No. 07-cv-2174-MMA (WMC), 2012 WL 5392159, at *18 (S.D. Cal.

      22 Nov. 5, 2012) (same); Dennis v. Kellogg Co., No. 09-cv-1786-L (WMC), 2013 WL

      23 6055326, at *7 (S.D. Cal. Nov. 14, 2013) (approving hourly rates of Blood Hurst

      24 & O’Reardon, LLP as “fall[ing] within typical rates for attorneys of comparable

      25 experience”); Johnson v. General Mills, Inc., No. SACV 10-00061-CJC(ANx),

      26 2013 WL 3213832, at *6 n.3 (C.D. Cal. June 17, 2013) (approving hourly rates and
      27 time spent by Robbins Geller Rudman & Dowd LLP and Blood Hurst &

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       1 O’Reardon, LLP, stating “[t]he Court has considered class counsel’s rates and

       2 finds they are reasonable because of the experience of the attorneys and prevailing

       3 market rates”) (citing Blood Hurst & O’Reardon, LLP’s firm resume); In re

       4 Hydroxycut Mktg. & Sales Practices Litig., No. 09-md-2087-BTM (KSC), 2014

       5 WL 6473044, at *9 (S.D. Cal. Nov. 18, 2014) (approving the hourly rates of Blood

       6 Hurst & O’Reardon, LLP, stating “the hourly rates charged by Class Counsel are

       7 reasonable and are typical rates for attorneys of comparable experience”);

       8 Amended Final Order, Negrete v. Allianz Life Ins. Co., No. CV-05-6838-

       9 CAS(MANx), at 26 (C.D. Cal. March 17, 2015) (finding the hourly rates charged

      10 by attorneys from Robbins Geller Rudman & Dowd to be reasonable for complex

      11 class action litigation in Los Angeles).

      12         The 2013 National Law Journal (“NLJ”) Billing Survey attached hereto as
      13 Exhibit B further supports the reasonableness of the rates charged by Co-Lead

      14 Settlement Class Counsel and their firms. The NLJ Billing Survey includes hourly

      15 rates billed at 17 national law firms based in California. The partners at such firms

      16 reported billing rates of as high as $1,195 per hour, and the average top billing rate

      17 for partners reported by such firms was $778. The survey further supports the

      18 reasonableness of the billing rates reported by Co-Lead Settlement Class Counsel
      19 and other attorneys from their firms.

      20           C. The Requested Award Is Reasonable and Appropriate
      21         As noted above, the lodestar of Co-Lead Settlement Class Counsel and their
      22 firms is presumptively reasonable. Van Gerwen, 214 F.3d at 1045. In rare or

      23 exceptional cases, the Court may adjust the lodestar amount upward or downward,

      24 (see id.), based on one or more of the following considerations:

      25         (1) the time and labor required, (2) the novelty and difficulty of the
                 questions involved, (3) the skill requisite to perform the legal service
      26         properly, (4) the preclusion of other employment by the attorney due
                 to acceptance of the case, (5) the customary fee, (6) whether the fee is
      27         fixed or contingent, (7) time limitations imposed by the client or the
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                 circumstances, (8) the amount involved and the results obtained, (9)
       1         the experience, reputation, and ability of the attorneys, (10) the
                 “undesirability” of the case, (11) the nature and length of the
       2         professional relationship with the client, and (12) awards in similar
                 cases.
       3
           Morales, 96 F.3d at 363 n.8 (quoting Kerr v. Screen Extras Guild, Inc., 526 F.2d
       4
           67, 70 (9th Cir. 1975)). Consideration of such factors indicates that a lodestar
       5
           adjustment is not necessary or appropriate in this litigation.
       6
                        1. Time and Labor Required
       7
                 As detailed above and in the Declaration of Ben Barnow submitted
       8
           herewith, substantial time and labor were required to litigate this complex MDL
       9
           matter to successful resolution.
      10
                        2. Novelty and Difficulty of the Questions Presented and the
      11                   Requisite Skill to Perform the Legal Service Properly
      12         This litigation presented complex and novel questions of law relating to
      13 multidistrict consumer class action data security breach litigation and required

      14 commensurate skill to litigate the case in an efficient and effective manner. As with

      15 any consumer security breach class action matter, significant and difficult issues

      16 relating to standing, causation, and the appropriateness and amount of available

      17 remedies were present. Additionally, the First Amended Consolidated Class Action

      18 Complaint asserts claims under federal law and the laws of California, Florida,
      19 Massachusetts, Michigan, Missouri, New Hampshire, New York, Ohio, and Texas.

      20 [D.E. #128]. As such, specialized skills in federal law, the laws of several states,

      21 consumer remedies, and multidistrict consumer class action litigation were also

      22 required to achieve the significant benefits that the settlement made available to the

      23 Settlement Class.

      24                3. The Preclusion of Other Employment
      25         The efforts of Co-Lead Settlement Class Counsel in the management of this
      26 class action necessarily infringed on the time and opportunity they had available to
      27 accept other employment. The reality of complex cases is that work is not easily

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       1 shifted to other attorneys unfamiliar with the matter. As a result, less time becomes

       2 available to Co-Lead Settlement Class Counsel to attend to other matters. Time

       3 devoted to this litigation and its resolution necessarily limited the time available

       4 for other employment.

       5               4. Whether the Fee Is Fixed or Contingent
       6         This case was prosecuted by Co-Lead Settlement Class Counsel on a
       7 purely contingent basis, thereby assuming the risk of no payment for a

       8 considerable amount of work over an extended period of time. Co-Lead

       9 Settlement Class Counsel and their firms spent more than 5,580 hours advancing

      10 this case without any compensation, and without knowing whether their efforts

      11 would ever be rewarded. Thus, this factor heavily supports the reasonableness of

      12 the current fee request. See, e.g, In re Wash. Pub. Power Supply Sys. Sec. Litig., 19

      13 F.3d 1291, 1295 (9th Cir. 1994) (“Contingent fees that may far exceed the market

      14 value of the services if rendered on a non-contingent basis are accepted in the legal

      15 profession as a legitimate way of assuring competent representation for plaintiffs

      16 who could not afford to pay on an hourly basis regardless of whether they win or

      17 lose.”); Goldberger v. Integrated Res., Inc., 209 F.3d 43, 54 (2d Cir. 2000)

      18 (“[A]ttorneys’ risk is perhaps the foremost factor in determining an appropriate fee
      19 award.”) (citation and quotation omitted).

      20               5. Limitations Imposed by the Client of the Circumstances and
                          the Nature and Length of the Professional Relationship with
      21                  the Client
      22         Co-Lead Settlement Class Counsel are not aware of any limitations imposed
      23 by clients in this matter that had any effect on the litigation or the settlement

      24 process. Additionally, given this case’s status as a consumer class action and the

      25 fact that 65 cases were consolidated into this MDL, the nature and length of

      26 relationships with the clients neither weighs in favor of, or against, approval of the
      27 Settlement.

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                        6. The Amount Involved or the Results Obtained
       1
                 As detailed further herein, the results obtained by the settlement are
       2
           excellent and finely tailored to the facts of this case. Among other things, PSN
       3
           Accountholders are eligible to receive free PS3 and PSP games, free PS3 themes,
       4
           or free subscriptions to PlayStation Plus, Qriocity Accountholders are eligible to
       5
           receive a $9.99 cash payment, and SOE Accountholders are eligible to receive free
       6
           Station Cash. The Settlement also provides for payment of Settlement Class
       7
           Members’ claimed and documented, unreimbursed Identity-Theft-Related-Charges
       8
           proven to have more likely than not resulted from the Intrusions. Such an excellent
       9
           result warrants the award of attorneys’ fees, costs, and expenses sought here.
      10
                        7. The Experience, Reputation and Ability of the Attorneys
      11
                 Co-Lead Settlement Counsel are each successful plaintiff’s counsel with
      12
           significant experience in litigating consumer class actions. Additionally, certain of
      13
           Co-Lead Settlement Class Counsel also have substantial experience litigating
      14
           consumer data security breach class actions, such as this matter. The services
      15
           rendered were performed efficiently and effectively, reflecting the practical and
      16
           accumulated knowledge of counsel. Additionally, the Sony Entities are represented
      17
           by Ropes & Gray, a highly respected international law firm, well-known for
      18
           vigorously representing its clients in complex litigation such as this matter and
      19
           defending clients involved with data breach litigation. The ability and
      20
           determination of Defendants’ counsel enhances the significance of the results
      21
           achieved by Co-lead Settlement Class Counsel.
      22
                        8. The “Undesirability” of the Case
      23
                 Co-Lead Settlement Class Counsel took on several large corporations with
      24
           access to substantial legal resources and talent in a challenging and largely
      25
           undeveloped area of law. It required determination and effort to resolve this matter
      26
           with benefits inuring to the Settlement Class in the magnitude that has occurred.
      27

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       1 The case consumed significant financial resources and time of Co-Lead Settlement

       2 Class Counsel. Thus, the risks assumed by Co-Lead Settlement Class Counsel in

       3 handling this case on a contingency basis were significant. At its inception, it was

       4 less than clear that a positive result for plaintiffs would be obtained. No one knew

       5 the amount of time that would be involved, or the costs of advancing the case and

       6 preparing it for settlement or trial, except that the case had inherent risks and

       7 would be an uphill battle. In light of these considerations, the risks assumed by Co-

       8 Lead Settlement Class Counsel were substantial. See, e.g., Vizcaino v. Microsoft

       9 Corp., 290 F.3d 1043, 1048 (9th Cir. 2002) (risk is a relevant circumstance when

      10 awarding attorney’s fees).

      11               9. The Customary Fee and Awards in Similar Cases
      12         The amount requested for attorney’s fees, costs, and expenses compares
      13 favorably with attorney’s fees awarded in similar cases. By way of example, in

      14 connection with a settlement reached in In re TJX Companies Retail Security

      15 Breach Litigation, relating to a security breach involving the theft of

      16 approximately 45,000,000 credit and debit cards, the court applied a lodestar

      17 analysis and found p laintiffs’ counsel’s request for $6,500,000 in attorneys’ fees

      18 to be reasonable. 584 F. Supp. 2d 395, 408 (D. Mass. 2008). Similarly, in In re
      19 Countrywide Financial Corp. Customer Data Security Breach Litigation, relating

      20 to a security breach involving approximately 17 million individuals, the court

      21 awarded $3,500,000 in attorneys’ fees. No. 3:08-MD-01998, 2010 WL 3341200

      22 (W.D. Ky. Aug. 23, 2010). Indeed, one of Co-Lead Settlement Class Counsel was

      23 a lead counsel in each of those cases, where he and his colleagues worked to bring

      24 about a fair, reasonable, and adequate resolution to the litigation, just as Co-Lead

      25 Settlement Class Counsel and their firms have achieved here on behalf of the

      26 Settlement Class. These awards and others like them in similar cases further
      27 support the reasonableness of the requested amounts.

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       1                                    CONCLUSION
       2         As the above demonstrates, the Settlement is fair, reasonable, and adequate,
       3 and satisfies the standard for final approval. Therefore, Plaintiffs, individually and

       4 on behalf of the Settlement Class, by and through Co-Lead Settlement Class

       5 Counsel, pray that this Honorable Court enter an order:

       6         (a)   Finding that the Settlement is fair, reasonable, adequate, and in the
                       best interest of the Settlement Class, and granting final approval to the
       7               Settlement;
       8         (b)   Granting Representative Plaintiffs’ request for attorneys’ fees, costs,
                       and expenses in the amount of $2,750,000; and
       9
                 (c)   Granting such other and additional relief as the Court may deem just
      10               and appropriate.
      11
           Dated: April 3, 2015                  Respectfully submitted,
      12
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       1                           CERTIFICATE OF SERVICE
       2         I hereby certify that on April 3, 2015, I electronically filed the foregoing
       3 with the Clerk of the Court using the CM/ECF system, which will send notification

       4 of such filing to the email addresses denoted on the Electronic Mail Notice List,

       5 and that I shall cause the foregoing document to be mailed via the United States

       6 Postal Service to the non-CM/ECF participants indicated on the Electronic Mail

       7 Notice List.

       8
                                                 /s Ben Barnow__________________
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